          Case 1:21-cv-00175-RC Document 49 Filed 08/12/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

WILDEARTH GUARDIANS; and              )
PHYSICIANS FOR SOCIAL RESPONSIBILITY )
                                      )
             Plaintiffs,              )
                                      )                     Case No. 1:21-cv-00175-RC
       v.                             )
                                      )
DEBRA HAALAND, Secretary,             )
U.S. Department of the Interior; and  )
U.S. BUREAU OF LAND MANAGEMENT        )
                                      )
             Defendants,              )
                                      )
AMERICAN PETROLEUM INSTITUTE, et al., )
                                      )
             Intervenor-Defendants.   )


    PLAINTIFFS’ CONSOLIDSATED REPLY TO (1) ANSCHUTZ EXPLORATION
      CORPORATION’S MEMORANDUM OF POINTS AND AUTHORITIES IN
   OPPOSITION TO PLAINTIFFS’ MOTION TO STAY AND (2) NAH UTAH, LLC’S
        RESPONSE TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS


       Plaintiffs WildEarth Guardians and Physicians for Social Responsibility have requested

this Court stay these proceedings for 60 days to allow for Plaintiffs and Federal Defendants to

negotiate terms for settlement based on an agreement in principle between the parties. Plaintiffs

provide the following reply to the responses filed by Intervenor Defendants Anschutz

Exploration Corporation (AEC) (ECF No. 47), and NAH Utah, LLC (ECF No. 48).

       In its opposition to Plaintiffs’ Motion to Stay, Intervenor-Defendant AEC states that it

has “no information about or insight into the terms of the proposed settlement.” ECF No. 47, at

1. However, as the basic terms of the agreement in principle have, in fact, been shared with AEC,

this objection has been resolved.
            Case 1:21-cv-00175-RC Document 49 Filed 08/12/21 Page 2 of 4




        Plaintiffs acknowledge that prior to filing their Motion to Stay they did not provide

Intervenor-Defendants with the settlement framework agreed to in principle by Plaintiffs and

Federal Defendants. Given multiple pending briefing deadlines in this case and the two related

cases (1:16-cv-01724-RC and 1:20-cv-00056-RC), Plaintiffs believed time was of the essence in

informing the Court of the agreement in principle, a significant development towards potential

settlement of this case and the two related cases. Prior to filing the Motion for Stay, Plaintiffs

sought Federal Defendants’ consent to share the basic terms of their agreement in principle, but

were unable to obtain this consent prior to the time of filing. However, Federal Defendants have

now shared the basic terms of the agreement in principle with all Intervenor-Defendants,

including counsel for AEC.1 Accordingly, AEC’s objections to the Motion to Stay have now

been resolved.

        AEC also requests that the Court require Plaintiffs and Federal Defendants “involve AEC

in all future settlement discussions and communications.” AEC Resp. at 2. NAH Utah, LLC

similarly requests that the Court require consultation with Intervenor-Defendants “as the

settlement discussions progress.” NAH Resp., at 4. Intervenor-Defendants’ requests are

misplaced. Given the large number of Intervenor-Defendants appearing in this and the two

related cases, such a requirement would unduly delay progress towards negotiating final

settlement terms and language. Simply finding a time to schedule a conference call to

accommodate the busy schedules of counsel would likely result in substantial delays, not to

mention the challenge of negotiating final settlement language amongst the more than a dozen

counsel appearing in these matters. As parties to the case, Intervenor-Defendants will have the

opportunity to protect their interests – if they so deem necessary – by formally objecting to any


1
 Counsel for Federal Defendants shared this information with counsel for AEC by email on August 12, 2021 at
approximately 6:11 am, several hours prior to the filing of AEC’s response in opposition to the Motion for Stay.


                                                         2
           Case 1:21-cv-00175-RC Document 49 Filed 08/12/21 Page 3 of 4




settlement agreement that may be proposed by Plaintiffs and Federal Defendants, prior to the

Court’s approval. However, “‘[i]t is well settled that ‘the right to have its objections heard does

not, of course, give the intervenor the right to block any settlement to which it objects.’” United

States v. D.C., 933 F. Supp. 42, 47 (D.D.C. 1996) (quoting United States v. Hooker Chemicals &

Plastics Corp., 540 F. Supp. 1067, 1083 (W.D.N.Y. 1982), aff'd, 749 F.2d 968 (2d Cir. 1984)).

Nor does the right to have the Court hear objections to a proposed settlement imply the right to

fully participate in confidential settlement discussions amongst other parties.

       Accordingly, Plaintiffs request the Court stay the proceedings for 60 days to allow for

Plaintiffs and Federal Defendants to continue negotiations towards a final settlement of this case,

without imposing the unnecessary burden of involving numerous Intervenor-Defendants in that

process.

               Respectfully submitted this 12th day of August, 2021,



 /s/ Daniel L. Timmons                               /s/ Melissa Hornbein
 Daniel L. Timmons                                   Melissa Hornbein
 Bar No. NM0002                                      Bar No. MT0004
 WildEarth Guardians                                 Western Environmental Law Center
 301 N. Guadalupe Street, Suite 201                  103 Reeder’s Alley
 Santa Fe, NM 87501                                  Helena, MT 59601
 (505) 570-7014                                      (406) 708-3058
 dtimmons@wildearthguardians.org                     hornbein@westernlaw.org


 /s/ Samantha Ruscavage-Barz                         /s/ Kyle Tisdel
 Samantha Ruscavage-Barz                             Kyle Tisdel
 Bar No. CO0053                                      Bar No. NM0006
 301 N. Guadalupe Street, Suite 201                  Western Environmental Law Center
 Santa Fe, NM 87501                                  208 Paseo del Pueblo Sur, Suite 602
 (505) 410-4180                                      Taos, NM 87571
 sruscavagebarz@wildearthguardians.org               (575) 613-8050
                                                     tisdel@westernlaw.org

                                      Attorneys for Plaintiffs


                                                 3
          Case 1:21-cv-00175-RC Document 49 Filed 08/12/21 Page 4 of 4




                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record in this case.



                                                     /s/ Daniel L. Timmons
                                                     Daniel L. Timmons




                                                4
